









Dismissed and Memorandum Opinion filed December 16, 2004









Dismissed and Memorandum Opinion filed December 16,
2004.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-04-00913-CV

____________

&nbsp;

JAMES
WILLIAMS, Appellant

&nbsp;

V.

&nbsp;

HARRIS COUNTY
DISTRICT ATTORNEY=S OFFICE and CHARLES A. ROSENTHAL,
JR., Appellees

&nbsp;



&nbsp;

On Appeal from the
183rd District Court

Harris County,
Texas

Trial Court Cause No.
04-14432

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp; O
P I N I O N

This is an appeal from a judgment signed August 13,
2004.&nbsp; No clerk=s record has been filed.&nbsp; The clerk responsible for preparing the
record in this appeal informed the court appellant did not make arrangements to
pay for the record.&nbsp; 

On November 12, 2004, notification was transmitted to all
parties of the Court=s intent to dismiss the appeal for want of prosecution
unless, within fifteen days, appellant paid or made arrangements to pay for the
record and provided this court with proof of payment.&nbsp; See Tex.
R. App. P. 37.3(b).








Appellant filed no response.

Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed December 16, 2004.

Panel consists of Chief Justice
Hedges and Justices Fowler and Seymore.

&nbsp;





